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                 EXHIBIT D
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                                                                         Page 1
                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.:9:18-cv-80176-BB/BR

             ----------------------------------------
             IRA KLEIMAN, as the personal             )
             representative of the Estate of David    )
             Kleiman, and W&K Info Defense            )
             Research, LLC                            )
                                 Plaintiffs,.         )
                                                      )
                     v.                               )
                                                      )
             CRAIG WRIGHT                             )
                                 Defendant.           )
             ----------------------------------------

                               VIDEO-TAPED DEPOSITION OF

                                   DR. CRAIG WRIGHT

                                             On

                                  Monday March 16, 2020

                                   At the offices of:
                               Boies Schiller Flexner LLP
                                   5 New Street Square
                                    London EC4A 3BF
                                       England
                                    United Kingdom

             Taken by:
             AMY COLEY, Court Reporter
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                                                                        Page 81
       1     BY MR. RIVERO:
       2               A.        No, Dave could not speak as
       3     Satoshi.       In all the key areas where Satoshi was
       4     speaking Dave was hospitalized and did not have a
       5     computer and at parts not even a phone.            Dave was
       6     under operations while he was in conversations
       7     with Mike Hearn -- that Satoshi was having
       8     conversations with Mike Hearn, so it is not
       9     possible to have a hip operation while actually
      10     writing on the Bitcoin forum.          On top of that,
      11     while Satoshi was communicating with Hal Finney,
      12     coding which Dave was never a C-coder; the
      13     communications between Hal Finney where when Dave
      14     was in hospital.      So, being that Dave was in
      15     hospital without access to the internet in some of
      16     these things, and being that Dave was literally
      17     under the knife during of some of it, it is not
      18     possible that Dave spoke as Satoshi, as much as
      19     some people want that.
      20               Q.       Did Robert McGregor and his people
      21     specifically want you to say that "Dave was a key
      22     part of everything that I did"?
      23               A.       Robert would have loved me to have
      24     said that.
      25               Q.       Would he have also loved you to
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                                                                        Page 121
       1                Q.     Did Satoshi Nakamoto die with
       2     Dave's death?
       3                A.     Again, there was no team.
       4                Q.     That is not what I asked.          Did
       5     Satoshi Nakamoto die with Dave's death?
       6                       MR. RIVERO:      Object to the form.
       7                A.     Satoshi Nakamoto was myself.          Dave
       8     dying did not make me die.         Dave was not a C-coder
       9     and could not have coded Bitcoin.           Dave did not
      10     have any academic qualifications at all and was
      11     not able to write any of the academic aspects of
      12     the Bitcoin.     Dave was not trained in law, or
      13     economics Dave was not trained in Poisson
      14     mathematics, statistics, he was not trained in
      15     finance, monetary theory or any of the other
      16     aspects that make Bitcoin.         No, Dave's death had
      17     nothing to do at any point with Satoshi; before or
      18     after Dave's death Dave had nothing to do with
      19     Satoshi.
      20               Q.      Would it be fair to say that
      21     Satoshi Nakamoto was a good coder?
      22               A.      No, it would not be fair to say
      23     that.
      24               Q.      Would it be accurate to say that
      25     Satoshi Nakamoto was a good coder?
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                                                                       Page 122
       1                       MR. RIVERO:      Object to the form.
       2                A.     No, I was not a good coder, I am
       3     still not to a good coder, I am an adequate coder.
       4     I am academic, I used to teach C, C++, C#.             The
       5     format and use of case statements within Bitcoin
       6     is, I would say, designed and architecturally
       7     horrible but it was the best I could do.             People
       8     who work for me now are good coders they can do
       9     things that I would love to have been able to do
      10     in code.
      11               Q.      Would it be fair to say this your
      12     coding was crud?
      13               A.      No, it would not be fair to say my
      14     coding was crud.      I self-deprecate at times but
      15     the truth of the matter, if you want truth, that
      16     is not crud although I have called myself a crud
      17     coder.
      18               Q.      Would it be fair to say that Dave
      19     could edit code really well?
      20               A.      No, Dave had no coding skills at
      21     all.
      22               Q.      Dr. Wright, I am going to upload
      23     into the drop box what you produced in this
      24     litigation as defense 115950; do you have that up?
      25                       (Exhibit Defense 115950 referred
